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How Does A Temperature Gun Matt
(Infrared Thermometer) Work? Sec
Written By Piyush Patel Last Updated On: 19 Oct 2023 Published On: 13 May 2020
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66 A temperature gun—a type of infrared thermometer—works by
measuring the amount of infrared radiation emitted by an object.
The emitted IR radiation is focused onto a thermopile using a lens;
the thermopile then converts thermal energy into electrical energy,
and finally, these electrical signals are used to determine the _
temperature of the body.

If you were to head outside right now (though in most parts of the world,
you really shouldn't), chances are high that you will be held at gunpoint.
Don't worry, contrary to other times, this gun might help you survive!

A temperature gun, also known as a laser or non-contact thermometer,
is an infrared thermometer that measures the temperature of an object
from a certain distance. Originally meant to measure the temperature of
moving objects and inaccessible surfaces, temperature guns have found

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Temperature guns allow for faster and more secure temperature checks. (Photo Credit : JETACOM

AUTOFOCUS/Shutterstock)

Temperature guns are being utilized at airports to screen passengers,
by shopkeepers to check incoming customers, in driveways, and every
other possible area, but how do these guns work? Aren't we supposed
to stick a thermometer under our armpits or insert it beneath our
tongues to measure our body temperature?

Well, not anymore!

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What is Blackbody Radiation: Explained in Simple Terms Vide

Black Body Radiation

Infrared thermometers take advantage of the fact that all objects,
including humans, at a temperature above absolute zero, emit heat in
the form of thermal radiation. This is a concept known as black body

radiation.

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also a point where atoms exhibit strange and exotic behavior. However, Che
at any temperature above absolute zero, atoms are in a constant state
of motion and possess kinetic energy. The higher the temperature, the
more kinetic energy the atoms/molecules possess. When the electrons
in these excited atoms jump from one orbit (energy state) to another or
when two excited molecules collide, energy in the form of Mait
electromagnetic radiation is emitted. This kind of electromagnetic

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radiation, emitted solely by the kinetic energy and movement of particle: ae
in matter, is classified as thermal radiation. oe
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Being a subset of electromagnetic radiation, thermal radiation comprise

more than a single wavelength. It includes radio waves, infrared waves, Abo!
and visible light. The type of thermal radiation emitted depends on the —_ Us
source temperature. As mentioned earlier, the higher the temperature,

the faster the molecules move, so the greater the amount of radiation
emitted. At high enough temperatures, objects start radiating visible

light.

The sun, for example, resides at a temperature close to 5,600 Celsius
and emits most of its thermal radiation as visible light. Humans and all
animals, on the other hand, emit infrared radiation that lies just beneath
visible light in the electromagnetic spectrum.

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A thermal map of the human body created based on infrared radiation. (Photo Credit : PATARA/

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Stefan-Boltzmann Law

The knowledge of infrared radiation being emitted by humans and
animals has mostly been employed for thermal imaging. An infrared
thermometer takes this a step further and puts a number to the amount
of thermal radiation given off. IR thermometers do this by employing the

Stefan-Boltzmann law.

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Here, E is the radiant energy emitted per unit area per unit time and Tis Mat

the absolute temperature of the object.
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Upon removing the sign of proportionality, a constant term known as the Scie
Stefan—Boltzmann constant (o = 5.67 x 10 “ Wm ~K ~) gets added to

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the formula.
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E=oT Us

The above equation relates radiant energy to the temperature of a black
body, a body/object that absorbs all radiation incident at it. However, a
perfect black body doesn’t exist yet (although Vantablack comes pretty
close), so the above equation must be adjusted for all other regular

objects.
E = eoT‘

The formula is modified by adding a term called emissivity (e). This is
the ratio of radiant energy emitted by a regular surface to the radiant
energy emitted by a black body surface at the same temperature.
Emissivity values range from 0 to 1. An emissivity of 1 represents a
perfect black body and 0 represents a perfect reflector. Human skin has
an emissivity value between 0.97 and 0.99! (Source)

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How A Temperature Gun Works Vide

A typical infrared thermometer has the following parts—a laser, a Abo!
; ‘ : Us

converging lens, an IR sensor (thermopile), an ambient/reference

temperature sensor, an amplifier, and other electronic components to

convert and display the results in numeric values.

a
Thermopile

Components of an infrared thermometer

When you point the temperature gun at something or someone and
shoot, a laser is discharged from the thermometer. The laser, however,
doesn’t have any functional use, nor is it the thing that actually

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Infrared radiation, like visible light, can be reflected, absorbed, and
concentrated. Thus, IR radiation emitted by an object or a human is firs! Biot
focused onto the thermopile inside the temperature gun using a
converging (convex) lens. Next is a thermopile, an electronic device tha ="!
converts thermal energy into electrical energy. The thermopile is made

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by stacking several thermocouples in either a series or parallel
configuration. Soci
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The temperature of the thermopile increases with the amount of

radiation incident on it. However, the opposite side (the one facing the _—-Vide
other side of the gun) of the thermopile stays at a slightly lower
temperature, as infrared radiation is not directly incident on it. This
difference in temperature leads to the development of a voltage
difference, and thus electricity (thermoelectric effect). The electrical
reading is then amplified using an amplifier.

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Ultimately, the electrical reading is passed through to a typical data
acquisition circuit and the final temperature reading is displayed on an
LED panel in Celsius or Kelvin.

An ambient sensor present near the thermopile helps compensate for
any thermal radiation entering the temperature gun from the atmosphere

itself.

An optical chopper is another component that is often incorporated in
temperature guns. An electric motor drives the optical chopper and
helps the thermopile receive radiation on two different wavelengths.
They also consist of various emissivity settings to help check the

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represents the ratio of the size of the spot/area being measured tothe Che
distance of the thermometer from the spot. The greater the D:S ratio, th

greater the range and accuracy of the IR thermometer. Biok
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Temperature Guns Applications

A temperature gun finds extensive use in various industries. It is Scie
primarily used by firefighters to check for hot spots while extinguishing <
fire, in manufacturing and electronic industries to monitor machine
temperatures, the performance of heating/cooling systems, insulation no,
systems, car engines, inspecting electric panels and other temperature- Us
sensitive electric parts, etc. An IR thermometer can also be used to

ensure food safety by monitoring heater/oven temperature and food
temperature, as well as in agriculture to monitor plant and soil

temperature, among other things.

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The most important application of a temperature gun in recent times has
been for public safety. Temperature guns allow for easier, faster, and
more secure temperature checks of a greater number of peopie in
places like airports. They have previously been employed to check
travelers for fever during epidemic events like Ebola and SARS. Now,
the technology is being used to verify potential cases of COVID-19.

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Temperature checks have become an indispensable part of everyone's travel experience. (Photo

Credit : VectorMine/Shutterstock)

Using a temperature gun reduces the risk of cross-contamination and
spreading disease due to its non-contact approach. Also, the
temperature readings are obtained at a much quicker pace than
traditional methods. However, a temperature gun should only be used to
screen patients, not diagnose them.

The temperature reading displayed by an IR thermometer is affected by
a variety of factors. This includes how and where the IR thermometer is
used and its calibration. Important points to consider include positioning
of the laser on the forehead, ensuring the body and forehead

temperature hasn't been influenced due to excessive clothing or use of

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While the accuracy of temperature guns has always been up for debate

given the current scenario (the volume of temperature measurements, _Biok
the number of bodies to be screened, and the high risk of

contamination), the use of a slightly inaccurate but non-invasive Engi
technology like a temperature gun over more accurate but invasive

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methods seems essential!

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Tags: Black body, Electromagnetic radiation, Infrared, Physics, _
Temperature Abo!

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About the Author

Piyush is a mechanical engineer from Mumbai (India) who runs as
much as his machines. He'll always be up to talk about comics,
movies, and music. Will meet you annually at the comic-con and daily

at the gym.

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